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Attorneys for Plaintiffs


                           IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED UTAH PARTY, et al.,                           JOINT MOTION FOR ENTRY OF
                                                      PERMANENT INJUNCTION, GRANT
        Plaintiffs,                                   OF AWARD OF ATTORNEYS’ FEES
                                                      AND COSTS TO PLAINTIFFS, AND
 vs.
                                                      ENTRY OF JUDGMENT
 SPENCER J. COX, in his official capacity as
 the Lieutenant Governor of the State of Utah,        Case No. 2:17-cv-00655-DN

        Defendant.                                    Judge David Nuffer



       COMES NOW Plaintiffs the United Utah Party, Jim Bennett, Diane Knight, Vaughn R.

Cook, and Aaron Aizad (collectively, “Plaintiffs”) and Defendant Spencer J. Cox (“Defendant”)

in the above-captioned matter, by and through their undersigned counsel, hereby jointly stipulate

and move the Court for the entry of an Order (1) granting a permanent injunction in the above-

captioned matter, (2) awarding reasonable attorneys’ fees and costs to Plaintiffs in the amount of
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$115,000, and (3) entering judgment in favor of Plaintiffs and against Defendant. A proposed

order granting this Joint Motion is filed concurrently herewith.

       DATED this 2nd day of November, 2017.

                                             PARR BROWN GEE & LOVELESS, P.C.

                                             /s/ Cheylynn Hayman
                                             Cheylynn Hayman

                                             THE LAW OFFICE OF BRYAN L. SELLS,
                                             LLC

                                             /s/ Bryan L. Sells
                                             Bryan L. Sells
                                             Attorneys for Plaintiffs


                                             OFFICE OF THE UTAH ATTORNEY
                                             GENERAL

                                             /s/ David N. Wolf
                                             David N. Wolf
                                             Assistant Utah Attorney General
                                             Counsel for Defendant
                                             (signed by filing attorney with permission)




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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 2nd day of November 2017, a true and correct copy of

the foregoing JOINT MOTION FOR ENTRY OF PERMANENT INJUNCTION, GRANT

OF AWARD OF ATTORNEYS’ FEES AND COSTS TO PLAINTIFFS, AND ENTRY OF

JUDGMENT was filed via the Court’s EM/ECF filing system, which served the following:

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                                         /s/ Cheylynn Hayman




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